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10                             UNITED STATES DISTRICT COURT
11                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

12
13       THE PEOPLE OF THE STATE OF                      No. 3:17-cv-7106-SK
         CALIFORNIA,
14
                      Plaintiff,
15
              v.
16
         UNITED STATES DEPARTMENT OF
17       EDUCATION, et al.,
18                    Defendants.
19
20       MARTIN CALVILLO MANRIQUEZ, et al.,              No. 3:17-cv-7210-SK1
21
                      Plaintiffs,
22                                                       JOINT STATUS REPORT
              v.
23
         UNITED STATES DEPARTMENT OF
24       EDUCATION, et al.,

25                    Defendants.

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28     An identical version of this report was filed yesterday in The People of the State of California
     v. U.S. Department of Education, No. 3:17-cv-7106-SK, ECF No. 180.


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 3          The parties hereby submit the following status report in response to the Court’s September
 4   13, 2022 order.
 5          The parties continue to work in good faith towards resolving these cases without further
 6   litigation. On June 1, 2022, the Department of Education announced that it will “discharge all
 7   remaining federal student loans borrowed to attend any campus owned or operated by Corinthian
 8   Colleges Inc. (Corinthian) from its founding in 1995 through its closure in April 2015.” See
 9   https://www.ed.gov/news/press-releases/education-department-approves-58-billion-group-
10   discharge-cancel-all-remaining-loans-560000-borrowers-who-attended-corinthian-colleges. The
11   announced action will provide relief to approximately 560,000 borrowers, regardless of whether
12   any such borrower has filed a borrower defense application. Id. The Department is continuing the
13   process of effectuating this announced relief for all eligible borrowers who submitted borrower
14   defense applications, and it continues to work with its servicers to put into place the operational
15   steps necessary to effectuate the announced relief for eligible borrowers who did not apply for
16   borrower defense discharges.
17          The parties continue to analyze the full impact of the group discharge on their efforts to
18   resolve this litigation, including the extent to which the group discharge renders this litigation
19   moot. The parties believe that additional time would be beneficial to allow them to continue their
20   review and discussions. Accordingly, the parties respectfully request that the Court set a further
21   deadline for a status report in 60 days.
22   Dated: November 15, 2022                         Respectfully submitted,
23                                                    BRIAN D. NETTER
                                                      Deputy Assistant Attorney General
24
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25                                                    Assistant Branch Director
26                                                    /s/ Stuart J. Robinson
                                                      STUART J. ROBINSON
27                                                    Senior Counsel
                                                      U.S. Department of Justice
28                                                    Civil Division, Federal Programs Branch



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